          Case 1:18-cv-02340-RJL Document 129 Filed 07/03/19 Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA et al.,

 Plaintiffs,
                                                          Case No. 1:18-cv-02340-RJL
 v.

 CVS HEALTH CORPORATION; and                              Hon. Richard J. Leon
 AETNA INC.,

 Defendants.




         NOTICE OF FILING OF CVS HEALTH EMPLOYEE DECLARATIONS
                   REGARDING FOUR-STEP UNDERTAKING

        CVS Health Corporation hereby submits employee declarations regarding the four-step

undertaking described in CVS Health’s December 20, 2018 letter to the Court, ECF No. 42, and

the Court’s Memorandum Order dated December 21, 2018, ECF No. 44:

        1.     Declaration of Lisa Bisaccia, Executive Vice President and Chief Human

Resources Officer of CVS Health.

        2.     Declaration of Karen S. Lynch, Executive Vice President of CVS Health and

President of Aetna.

        3.     Declaration of Tracey Scraba, Chief Privacy Officer of CVS Health.



Dated: July 3, 2019                        Respectfully submitted,

                                                   /s/ Michael G. Cowie
      Case 1:18-cv-02340-RJL Document 129 Filed 07/03/19 Page 2 of 2



Enu A. Mainigi                             Michael G. Cowie
       D.C. Bar No. 454012                        D.C. Bar No. 432338
Craig D. Singer                            Rani A. Habash
       D.C. Bar No. 445362                        D.C. Bar No. 981388
Jonathan B. Pitt                           Michael H. McGinley
       D.C. Bar No. 479765                        D.C. Bar No. 1006943
WILLIAMS & CONNOLLY LLP                    DECHERT LLP
725 Twelfth Street, NW                     1900 K Street, NW
Washington, DC 20005                       Washington, DC 20006
Tel.: (202) 434-5000                       Tel.: (202) 261-3300
Fax: (202) 434-5029                        Fax: (202) 261-3333
Email: emainigi@wc.com                     Email: mike.cowie@dechert.com


                Counsel for CVS Health Corporation




                                       2
